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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT


IN RE TEVA SECURITIES LITIGATION            No. 3:17-cv-558 (SRU)

                                            No. 3:19-cv-449 (SRU)
THIS DOCUMENT RELATES TO:                   No. 3:19-cv-513 (SRU)
                                            No. 3:19-cv-543 (SRU)
                                            No. 3:19-cv-603 (SRU)
                                            No. 3:19-cv-655 (SRU)
                                            No. 3:19-cv-656 (SRU)
                                            No. 3:19-cv-923 (SRU)
                                            No. 3:19-cv-1167 (SRU)

                                            July 23, 2021

                                            ORAL ARGUMENT REQUESTED


        MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
        MOTION TO DISMISS STATE AND COMMON LAW CLAIMS
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                                GLOSSARY OF TERMS

“Class Action”   Ontario Teachers’ Pension Plan Board v. Teva Pharmaceutical Indus.
or “Ontario”     Ltd., et al., No. 3:17-cv-558

“Complaints”     The operative Complaints filed in the Direct Actions (defined below) and
                 subject to Defendants’ (defined below) MTD (defined below)

“DOJ”            Department of Justice

“Defendants”     All Defendants in the Direct Actions

“Direct          The term “Direct Actions” refers to the twenty individual actions that were
Actions”         consolidated with the Ontario Action pursuant to this Court’s Order
                 Regarding Pre-Trial Consolidation of Related Actions, entered April 28,
                 2020 (ECF No. 352), and as further memorialized in this Court’s Order,
                 entered January 22, 2021 (ECF No. 689). These actions are: (1) Nordea
                 Investment Mgmt. v. Teva Pharm. Indus., et al., No. 3:18-cv-1681
                 (“Nordea”); (2) Revenue, et al. v. Teva Pharm. Indus. et al., No. 3:18-cv-
                 1721 (“Alaska”); (3) Pacific Funds Series Tr., et al. v. Teva Pharm. Indus.,
                 et al., No. 3:18-cv-1956 (“Pacific”); (4) Public School Teachers Pension
                 and Ret. Sys. of Chicago v. Teva Pharm. Indus., et al., No. 3:19-cv-175
                 (“Chicago”); (5) Schwab Capital Tr., et al. v. Teva Pharm. Indus., et al.,
                 No. 3:19-cv-192 (“Schwab”); (6) Phoenix Ins. Co., et al. v. Teva Pharm.
                 Indus., et al., No. 3:19-cv-449 (“Phoenix”); (7) Mivtachim The Workers
                 Social Ins. Fund, et al. v. Teva Pharm. Indus., et al., No. 3:19-cv-513
                 (“Mivtachim”); (8) Clal Ins. Co., et al. v. Teva Pharm. Indus., et al., No.
                 3:19-cv-543 (“Clal”); (9) Highfields Capital I LP, et al. v. Teva Pharm.
                 Indus., et al., No. 3:19-cv-603 (“Highfields”); (10) Migdal Ins. Co., et al.
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                 Pension and Provident, et al. v. Teva Pharm. Indus., et al., No. 3:19-cv-
                 656 (“Harel”); (12) Oregon v. Teva Pharm. Indus., et al., No. 3:19-cv-657
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                 et al., No. 3:20-cv-683 (“Fir Tree”); (19) Franklin Mut. Series Funds, et
                 al. v. Teva Pharm. Indus., et al., No. 3:20-cv-1630 (“Franklin”); (20) BH
                 Invs. Funds, et al. v. Teva Pharm. Indus., et al., No. 3:20-cv-1635 (“BH”).
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                 01314 (D. Conn.) is excluded from the motion to dismiss and this
                 memorandum of law. Id. at ECF No. 60-61.

“MTD”            Memorandum of Law in Support of Defendants’ Motion to Dismiss State
                 and Common Law Claims (ECF No. 787-1)

“MTD New         Memorandum of Law in Support of Defendants’ Motion to Dismiss New
Claims”          Claims and Claims Against New Defendants (ECF No. 786-1)

“Ontario AC”     Amended Consolidated Class Action Complaint filed in the Class Action,
                 dated June 22, 2018 (ECF No. 226)

“Ontario SAC”    The Second Amended Class Action Complaint filed in the Class Action,
                 dated December 13, 2019 (ECF No. 310)

“Plaintiffs”     Plaintiffs in the Direct Actions

“PSA”            Pennsylvania Securities Act

“PSLRA”          Private Securities Litigation Reform Act

“Rule”           Federal Rule of Civil Procedure

“SEC”            U.S. Securities and Exchange Commission

SLUSA            Securities Litigation Uniform Standards Act of 1998

“State AGs”      The government entities that initiated the action captioned State of
                 Connecticut, et al. v. Teva Pharmaceuticals USA, Inc., et al., No. 2:19-cv-
                 2407 (E.D. Pa.)

“State AG        Complaint in State of Connecticut, et al. v. Teva Pharmaceuticals USA, Inc.,
Complaint”       et al., No. 2:19-cv-2407 (E.D. Pa.), dated May 10, 2019.

“Teva” or the    Teva Pharmaceutical Industries Ltd.
“Company”




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       Plaintiffs in the above-referenced Direct Actions respectfully submit this memorandum of

law in opposition to Defendants’ Motion to Dismiss State and Common Law Claims (the “State

Law Claims”) (ECF No. 787).

                                PRELIMINARY STATEMENT

       None of the bases cited by Defendants for dismissing Plaintiffs’ State Law Claims is

meritorious. First, the Complaints with common law fraud and negligent misrepresentation claims

sufficiently plead actual reliance. Defendants’ arguments to the contrary attempt to impose more

stringent pleading requirements than required by any other federal court.           The Highfields

complaint, for example, sets forth its “actual reliance” allegations in a separate section detailing

the individuals who read, reviewed, listened to and relied upon the various statements at issue.

These allegations are unquestionably sufficient to plead actual reliance.

       Second, as Defendants’ own authority indicates, the PSA allows Plaintiffs to use a “fraud

on the market” theory to plead reliance, which they have done.

       Third, SLUSA has no application here because these are opt-out actions, not class actions.

Precluding Plaintiffs’ State Law Claims would be entirely inconsistent with SLUSA—the very

law that serves as the basis for Defendants’ motion to dismiss—which was enacted to prevent the

filing of securities class actions in state court in order to sidestep the requirements of the PSLRA.

Each of the above-referenced actions is an opt-out action filed in federal court and subject to

federal pleading standards. These actions are not the attempted end-run around the federal

pleading requirements that SLUSA was designed to prevent, and, as such, SLUSA does not

preclude these plaintiffs from maintaining their State Law Claims.

       Fourth, Plaintiffs’ PSA claims (where brought) are timely. There is no basis to conclude

that Plaintiffs “should have discovered” the non-public facts supporting their scienter allegations




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more than one year before they filed their Complaints and, as such, the statute of limitations could

not have started to run.

        For the reasons set forth above and discussed in detail below, the Court should deny the

Defendants’ motion to dismiss.

                                              ARGUMENT1

I.      THE STATE LAW CLAIMS SUFFICIENTLY PLEAD ACTUAL RELIANCE ON
        DEFENDANTS’ ALLEGED MISREPRESENTATIONS AND OMISSIONS

        Defendants’ argument that Plaintiffs have failed to plead actual reliance for the purposes

of their common law fraud and negligent misrepresentation2 claims is unavailing. Each of the at-

issue Complaints identifies the specific statements that were made, the source of those statements,

and that their purchases were made in reliance on these false and misleading statements 3 —

allegations sufficient to survive a motion to dismiss even under the heightened pleading

requirements of Rule 9(b).4 Indeed, federal courts have held that allegations of this sort are


1
 For the purposes of this Opposition, the Direct Action Plaintiffs incorporate by reference the “Standard of
Review” articulated in the Memorandum of Law in Opposition to Defendants’ MTD New Claims, filed
July 23, 2021. As outlined in the MTD, not all arguments apply to all Complaints. As such, arguments
made herein are made only by the Direct Action Plaintiffs to which they apply.
2
  Defendants summarily assert that Plaintiffs’ common law claims are governed by Pennsylvania law.
(MTD at 1.) However, Plaintiffs’ investment managers did not make purchasing decisions in Pennsylvania,
and many of the alleged misrepresentations were made outside of Pennsylvania. See, e.g., Highfields
compl. ¶ 223 (misstatement made at Goldman Sachs healthcare conference in California). Given that actual
reliance is an element of common law fraud and common law negligent misrepresentation in all potentially
applicable jurisdictions, the Court does not need to conduct a choice-of-law analysis on this motion.
However, Plaintiffs expressly reserve their right to assert that a jurisdiction other than Pennsylvania governs
their common law fraud and common law negligent misrepresentation claims.
3
  See, e.g., Highfields compl. ¶ 370 (alleging that an investment analyst at the Highfields Plaintiffs’
investment manager, “actually and justifiably read, reviewed, liste[ne]d to and/or relied upon,” each of the
alleged misstatements or omissions prior to purchasing Teva securities); Clal compl. ¶ 593 (“Plaintiffs . . .
purchased or otherwise acquired Teva securities at artificially inflated prices in reliance on the Defendants’
untrue or misleading statements or omissions of material fact . . . .”).
4
 While “[c]ourts are deeply split within this District and elsewhere about whether Rule 9(b) applies to
negligent misrepresentation claims,” ARMOUR Cap. Mgmt. LP v. SS&C Techs., Inc., 2018 WL 1368908,


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sufficient to plead actual reliance with particularity. See, e.g., Maverick Fund, L.D.C. v. Comverse

Tech., Inc., 801 F. Supp. 2d 41, 55 (E.D.N.Y. 2011) (finding that plaintiff adequately pled actual

reliance under Rule 9(b) where the plaintiff “allege[d] that it read and/or listened to and relied

upon the defendants’ false and misleading statements before investing tens of millions of dollars”);

Transit Rail, LLC v. Marsala, 2007 WL 2089273, at *8, *12 (W.D.N.Y. July 20, 2007) (applying

Rule 9(b) and denying motion to dismiss where complaint alleged that plaintiff “received,

reviewed and relied” on misstatements).

        Defendants’ arguments with respect to the Highfields Complaint are particularly puzzling.

In a section entitled “Plaintiffs’ Actual Reliance,” the Highfields Complaint specifically alleges

that, prior to purchasing Teva securities, analysts at the Highfields Plaintiffs’ investment manager

“actually and justifiably read, reviewed, liste[ne]d to and/or relied upon (as applicable),” each of

the SEC filings, press releases, earnings calls, conferences calls, or news articles alleged to contain

material misrepresentations and/or omissions in the Complaint, including Defendants’ statements

concerning inter alia,

                pricing trends for generic drugs, the competitiveness of the U.S.
                generics market, the source of Teva’s revenues and profits,
                Defendants’ denials that Teva was deriving material financial
                benefits from price increases, Defendants’ claims of limited price
                hikes, Defendants’ denials of pricing pressure, Defendants’ denials
                of participation in collusive conduct, and Defendants’ statements
                regarding the Actavis acquisition,

which were all “material to Highfields’ decision to purchase or acquire Teva securities on behalf

of Plaintiffs.” Highfields compl. ¶¶ 370-71. Thus, the Highfields Complaint unquestionably

alleges (with particularity) the “who” (the Highfields Plaintiffs’ investment manager, Highfields);


at *6 (D. Conn. Mar. 16, 2018), they generally apply the heightened fraud pleading standard where a
negligent misrepresentation claim “is couched in fraud-like terms of known falsity,” Ferry v. Mead Johnson
& Co., LLC, 2021 WL 243119, at *18 (D. Conn. Jan. 25, 2021).



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the “when” (prior to purchasing Teva securities on behalf of the Highfields Plaintiffs); the “what”

(the misstatements and/or omissions about, inter alia, Teva’s pricing activity and its impact on

Teva’s financials); and the “how” (in deciding whether to buy Teva securities) of the Highfields

Plaintiffs’ actual reliance. These allegations are sufficient to plead actual reliance with respect to

all of the Highfields Plaintiffs’ claims.5

        Defendants’ characterizations of the above-described allegations as “conclusory” is

demonstrably false and Defendants’ reliance on Pell v. Weinstein, 759 F. Supp. 1107 (M.D. Pa.

1991), International Fund Management v. Citigroup, 822 F. Supp. 2d 368 (S.D.N.Y. 2011), and

DoubleLine Capital v. Odebrecht Financial, 323 F. Supp. 3d 393 (S.D.N.Y. 2018), is misplaced.

(See MTD at 7-8, 10.) In Pell, the documents containing the alleged false or misleading statements

did not even exist on the date the plaintiffs committed themselves to the at-issue merger transaction

and, therefore, plaintiffs could not have relied on those documents. 759 F. Supp. at 1115. Here,

each of the documents relied upon existed in advance of purchases of Teva securities made by the

Highfields Plaintiffs. In International Fund, the plaintiffs’ allegations of reliance, spanning two

short, nearly single-sentence paragraphs, were “incredibly broad, alleging reliance on entire 10-

Ks for indefinite periods of time,” without any indication as to what specific statements were at

issue. 822 F. Supp. 2d at 386.6 They also “lacked supporting factual matter indicating how



5
  Defendants unfairly accuse the Highfields Plaintiffs of “attempt[ing] to avoid the strictures of Rule 9(b)”
with respect to their negligent misrepresentation claims. (MTD at 11 n.19.) That accusation is both baseless
and pointless. As described above, the well-pleaded allegations in the Complaint unquestionably meet Rule
9(b)’s heightened pleading requirements; as such, there is no need to “avoid” its requirements with respect
to the Hightfields Plaintiffs’ negligent misrepresentation claim.
6
  Defendants’ reliance on the court’s decision in In re Bear Stearns Cos. Sec., Deriv. & ERISA Litig., 995
F. Supp. 2d 291 (S.D.N.Y. 2014), decision is also misplaced, particularly to the extent it purports to argue
that plaintiffs are required to demonstrate a linkage between the alleged misstatements or omissions and
specific purchases. (See MTD at 11.) In Bear Stearns, the plaintiff only identified one of the documents
on which it relied, and with respect to that document it did “not allege that it actually purchased any
particular Bear Stearns securities on any particular date in reliance on any particular alleged misstatements.”


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plaintiffs relied on the alleged misrepresentations.” Id. Unlike the complaint in International

Fund, the Highfields Complaint here pleads the involvement of an analyst employed by the

Highfields plaintiffs’ investment manager who read the false statements, and relied on those

statements to purchase Teva securities. Similarly, in DoubleLine Capital, the plaintiffs had alleged

reliance on alleged misstatements contained in offering memorandum for securities that they did

not purchase, such that it was “entirely unclear how [p]laintiffs relied on the representations in the

other offering memoranda in their purchases of the Notes at issue here.” 323 F. Supp. 3d at 463.

That is not the case here, where the Highfields Plaintiffs have alleged reliance on public disclosures

related to Teva’s business, not particular offering memorandum.7

          Because Plaintiffs have adequately pled the reliance element of their common law fraud

and negligent misrepresentation claims, Defendants’ motion to dismiss on that basis should be

denied.

II. PLAINTIFFS PROPERLY ALLEGED RELIANCE UNDER THE PSA USING A
    THEORY OF FRAUD ON THE MARKET

          Unlike the State Law Claims of common law fraud and negligent misrepresentation, claims

of securities fraud under PSA §§1-402(c) and 1-501(c) do not require plaintiffs to plead actual

reliance. Rather, for these causes of action, “reliance may be presumed” “where a plaintiff asserts


995 F. Supp. 2d at 313. Plaintiffs here have identified all of the statements that were relied upon and the
documents in which those statements were made, and have alleged that their purchases were made in
reliance on those statements. No other “linkage” is required, even under Rule 9(b), unless the absence of
those details would render “it impossible for the courts to figure out what conduct was alleged to be
fraudulent or whether” the alleged injury was causally related to the purchase or sale. See Maverick Fund,
801 F. Supp. 2d at 53.
7
 In a footnote, Defendants characterize the Highfields Plaintiffs’ reliance allegations as “implausible” based
on the sheer volume of the disclosures relied upon and the overlap of those disclosures with the statements
challenged in the Class Action. (MTD at 11 n.18.) That characterization ignores reality. Indeed, it does
not “strain[] credulity” that investors would read the same public disclosures in determining whether to
purchase a company’s securities, and, at this stage in the litigation, the Highfields Plaintiffs’ allegations
that they did so read and rely should be credited.



                                                      5
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a ‘fraud on the market’ claim.”      Fulton Fin. Advisors, Nat. Ass’n v. NatCity Investments, Inc.,

2013 WL 5635977, at *13 (E.D. Pa. Oct. 15, 2013). Here, the Plaintiffs asserting claims under

the PSA have properly alleged fraud on the market, so they need not plead actual reliance. See,

e.g., Harel Compl. at ¶¶ 880-83; Phoenix Compl. ¶¶ 902-05.

        Defendants attempt to evade this authority by bundling the PSA claims together with the

common law fraud and negligent misrepresentation claims, and asserting that all three require the

same element of actual reliance. But the only authority they cite for the PSA claim is Fulton,

which reached the exact opposite conclusion. Fulton, 2013 WL 5635977, at *13 (“Only where a

plaintiff asserts a ‘fraud on the market’ claim may reliance be presumed.”).8 There, the court found

that the plaintiff needed to plead actual reliance only because it failed to plead fraud on market.

Id. (“Fulton’s allegations are the exact opposite of those required to state a fraud on the market

claim since it asserts there was no efficient market.” (emphasis added)). Plaintiffs here do not

suffer from this same deficiency, so the PSA claims remain viable.

III.    SLUSA DOES NOT PRECLUDE OPT-OUT PLAINTIFFS’ STATE LAW
        CLAIMS.

        Defendants erroneously argue that Plaintiffs’ State Law Claims should be dismissed under

SLUSA. (MTD at 3-7.) SLUSA was enacted to close a loophole that was being exploited by filing

securities class actions in state court under state law to avoid the requirements of the then-recently

enacted PSLRA. The PSLRA was designed to prevent the filing of frivolous securities fraud class


8
  Defendants’ misreading of Fulton is not accidental. Indeed, in their motion to transfer Phoenix from the
Eastern District of Pennsylvania to this District, Defendants cited Fulton in support of the exact opposite
position they take now. Phoenix, No. 18-cv-03305 (E.D. Pa.), ECF No. 30-2 at 16 (arguing that trial courts
“uniformly treat[] PSA claims as requiring the same elements of proof as required under Rule 10b-5 and []
therefore analyze[] them in identical fashion.”). This is not the first time Defendants have tried to argue
from both sides of their mouth. In their motion to dismiss the Israeli Law claims, they likewise attempted
to highlight differences between Israeli Securities Law and 10b-5 after previously stressing their
parallelism. This Court recognized the tension, calling it “eyebrow-raising” and “too clever by half.” ECF
No. 689 at 56.


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actions by, among other things, creating heightened pleading requirements for federal securities

fraud claims and imposing an automatic stay of discovery until the complaint has survived a

motion to dismiss. When class plaintiffs began filing their federal securities class actions under

the guise of state law actions in state court in order to avoid the PSLRA, Congress passed SLUSA.

But SLUSA was not designed as a weapon to preclude individual opt-out actions – which by

definition are not class actions – that assert federal and state law claims in federal court. The opt-

out actions here have not attempted to evade federal law or the federal courts. Instead, they have

exercised their constitutional right to pursue their own claims instead of relying on the class action

vehicle. And because the opt-out actions are not class actions, they are not covered by SLUSA.

       SLUSA does not prevent all plaintiffs from bringing any state law claims relating to

securities. Rather, the statute selectively prevents class plaintiffs from circumventing the pleading

requirements of the PSLRA by filing class action lawsuits in state court under state law. SLUSA

operates through its “state-law class-action bar,” Cyan, Inc. v. Beaver Cty. Emps. Ret. Fund, 138

S. Ct. 1061, 1067 (2018), which is the provision that defines the specific circumstances in which

a state law claim is precluded. This state-law class-action bar provides that “[n]o covered class

action based upon the statutory or common law of any State . . . may be maintained in any State

or Federal court by any private party alleging [a securities claim] . . . in connection with the

purchase or sale of a covered security.” 15 U.S.C. § 78bb(f)(1). As relevant here, a “covered class

action” includes “any group of lawsuits filed in or pending in the same court and involving

common questions of law or fact, in which (I) damages are sought on behalf of more than 50

persons; and (II) the lawsuits are joined, consolidated, or otherwise proceed as a single action for

any purpose.” Id. § 78bb(f)(5)(B)(ii).

       Where a “covered class action” has been filed in or removed to federal court, SLUSA




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mandates dismissal of all state law claims that allege a misrepresentation or omission in connection

with the purchase or sale of a “covered security.” 15 U.S.C. § 77bb(f). As the Supreme Court has

explained, “SLUSA does not actually pre-empt any state cause of action,” but rather “simply

denies plaintiffs the right to use the class-action device to vindicate certain claims.” Merrill Lynch,

Pierce, Fenner & Smith Inc. v. Dabit, 547 U.S. 71, 87 (2006) (emphasis added); see also Cyan,

138 S. Ct. at 1067 (“[T]aken all in all, [SLUSA] completely disallows (in both state and federal

courts) sizable class actions that are founded on state law and allege dishonest practices respecting

a nationally traded security’s purchase or sale.” (emphasis added)); Kircher v. Putnam Funds Tr.,

547 U.S. 633, 636 n.1 (2006) (SLUSA “does not itself displace state law with federal law but

makes some state-law claims nonactionable through the class-action device in federal as well as

state court.” (emphasis added)). Moreover, the statute “does not deny any individual plaintiff, or

indeed any group of fewer than 50 plaintiffs, the right to enforce any state-law cause of action that

may exist.” Dabit, 547 U.S. at 87.

        Here, Defendants argue that “the eight actions asserting the State Law Claims meet th[e]

definition” of “covered class action” under SLUSA because this Court has “‘consolidated for pre-

trial purposes’ all of the Direct Actions . . . with the Ontario Class Action.” (MTD at 6.) But it is

undisputed that none of these eight actions are class actions. Rather, all are individual actions

brought in federal court by plaintiffs who have exercised their constitutional right to exclude

themselves from the Ontario Class Action and bring direct claims under both federal and state law,

all of which are governed by federal pleading standards. Moreover, Plaintiffs in these actions

actively opposed consolidation with the Ontario Class Action. (See, e.g., Highfields, ECF No.

38.)9 To interpret SLUSA’s “covered class action” definition to encompass these opt-out actions


9
 For example, the Phoenix Plaintiffs originally filed their complaint (including the PSA claims) in the
Eastern District of Pennsylvania, where their individual action could remain separate from the Class Action


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would contravene the statute’s clear legislative history. Where “the literal application of a statute

will produce a result demonstrably at odds with the intentions of its drafters, . . . those intentions

must be controlling.” Griffin v. Oceanic Contractors, Inc., 458 U.S. 564, 571 (1982).

        The PSLRA was enacted in 1995 and targeted “perceived abuses of the class-action vehicle

in litigation involving nationally traded securities.” Dabit, 547 U.S. at 81. “The PSLRA was

intended to curtail ‘strike suits’—i.e., meritless class actions alleging fraud in the sale of

securities.” Cal. Pub. Emps.’ Ret. Sys. v. WorldCom, Inc., 368 F.3d 86, 98 (2d Cir. 2004).

“Because of the expense of defending such suits, issuers were often forced to settle, regardless of

the merits of the action.” Lander v. Hartford Life & Annuity Ins. Co., 251 F.3d 101, 107 (2d Cir.

2001). Among other measures, the PSLRA “impose[d] heightened pleading requirements” for

Section 10(b) claims, “limit[ed] recoverable damages and attorney’s fees,” “impose[d] new

restrictions on the selection of (and compensation awarded to) lead plaintiffs,” and “authorize[d]

a stay of discovery pending resolution of any motion to dismiss.” Dabit, 547 U.S. at 81.

        But the PSLRA had an “unintended consequence: It prompted at least some members of

the plaintiffs’ bar to avoid the federal forum altogether” by filing “class actions under state law,

often in state court.” Dabit, 547 U.S. at 82 (emphasis added). These state court securities class

actions “assert[ed] many of the same causes of action” as federal securities class actions, “but

avoid[ed] the heightened procedural requirements instituted in federal court” by the PSLRA.

Lander, 251 F.3d at 108. In order “to close this loophole in [the] PSLRA,” Congress enacted




and free from scrutiny under SLUSA. Phoenix, No. 18-cv-03305 (E.D. Pa.), ECF No. 1. The Phoenix
Plaintiffs recognized that consolidation with the Class Action could threaten its PSA claims, and resisted
transfer and consolidation on that basis. It was Defendants – not Plaintiffs – who championed the
consolidation that they now complain makes Plaintiffs’ claims improper, and it would be patently unfair to
strike originally well-pleaded allegations based on Defendants’ gamesmanship. Likewise for the Harel
Plaintiffs, who filed in this District – rather than their preferred venue of the Eastern District of Pennsylvania
– after and because of the ruling in Phoenix.


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SLUSA. Id. SLUSA made “federal court the exclusive venue for class actions alleging fraud in

the sale of certain covered securities and . . . mandat[ed] that such class actions be governed

exclusively by federal law.” Id. As the Supreme Court explained, SLUSA intended “to prevent

certain State private securities class action lawsuits alleging fraud from being used to frustrate the

objectives” of the PSLRA. Dabit, 547 U.S. at 86 (2006) (emphasis added).

       As the Second Circuit has recognized, “both the statutory findings and the accompanying

conference report make it clear that SLUSA targeted class action litigation intended to be reached

by [the] PSLRA, but which evaded the procedural requirements of [the] PSLRA by migrating to

state court.” Lander, 251 F.3d at 110 (emphasis added). Because Congress was concerned with

class action lawsuits filed in state court as an end-run around the PSLRA, SLUSA included a

preclusion provision to ensure that class actions involving covered securities would proceed under

federal law, rather than the laws of various states. But Congress understood that it would not be

enough to include within that definition only class actions formally denominated as such. To

prevent counsel from creating de facto classes through simply bringing many separate individual

actions in the same court, SLUSA included a definition of “covered class actions” that contained

certain “limitations” on “mass actions” that attempted to evade the Act. As the legislative history

explains, the definition of “covered class action” was:

               intended to prevent evasion of the bill through the use of so-called
               “mass actions.” These kinds of actions are now brought in product
               liability, environmental tort and similar cases. In practice, such suits
               may function very much like traditional class actions and, because
               they involve many plaintiffs, they may have a very high settlement
               value. They accordingly may be abused by lawyers who seek to
               evade the provisions of this Act in order bring coercive strike suits.

S. Rep. No. 105-182, at 7 (1998). SLUSA’s drafters, however, were also careful to explain that

the statute was not meant to prevent plaintiffs from “bringing bona fide individual actions simply




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because more than fifty persons commence the actions in the same state court against a single

defendant.” Id.; see also, e.g., Dabit, 547 U.S. at 87 (SLUSA only “denies plaintiffs the right to

use the class-action device to vindicate certain claims”). Another goal of SLUSA was to “prevent

plaintiffs from seeking to evade the protections that Federal law provides against abusive litigation

by filing suit in State, rather than in Federal, court.” H.R. Rep. No. 105-640, at 8-9 (1998).10

        Thus, precluding Plaintiffs’ State Law Claims would be entirely inconsistent with

SLUSA’s purpose. These claims are individual, opt-out claims asserted under both federal and

state law that were originally brought in federal court and are subject to federal pleading standards.

Plaintiffs have not attempted to end-run the PSLRA’s requirements here and the assertion of the

State Law Claims in addition to federal securities claims does not transform this case into the type

of action that SLUSA precludes.

        The right to exclude oneself from a class action and pursue an individual remedy is founded

in the Due Process Clause of the United States Constitution. See Phillips Petroleum Co. v. Shutts,

472 U.S. 797, 811-12 (1985) (“[D]ue process requires at a minimum that an absent plaintiff be

provided with an opportunity to remove himself from the class by executing and returning an ‘opt

out’ or ‘request for exclusion’ form to the court.”). An application of SLUSA that effectively

strips a party of its ability to opt-out of a class action and pursue its own state law claims, simply



10
  Plaintiffs acknowledge that courts within the Second Circuit have held SLUSA applicable to opt-out
actions. See, e.g., In re Am. Realty Capital Props., Inc. Litig., 2019 WL 2082508, at *4 (S.D.N.Y. May 10,
2019); Kuwait Inv. Office v. Am Int’l Grp., Inc., 128 F. Supp. 3d 792, 811-13 (S.D.N.Y. 2015); Amorosa v.
Ernst & Young LLP, 682 F. Supp. 2d 351, 372-77 (S.D.N.Y. 2010); Gordon Partners v. Blumenthal, 2007
WL 1438753, at *3 (S.D.N.Y. May 16, 2007), aff’d on other grounds, 293 F. App’x 815 (2d Cir. 2008); In
re AOL Time Warner, Inc. Sec. Litig., 503 F. Supp. 2d 666, 671-72 (S.D.N.Y. 2007). On that basis, as
defendants note (MTD at 7 n.12), plaintiffs opposed consolidation of these actions, in an attempt to
minimize the risk that Plaintiffs’ constitutional opt-out rights would be abridged by the interpretation of
SLUSA embraced in these decisions. Plaintiffs respectfully submit that that these decisions were wrongly
decided to the extent they did not fully consider that SLUSA’s legislative history makes clear that the statute
was not intended to distinguish the claims of opt-out plaintiffs.



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because a class action is pending in the same federal court, makes no sense and is unfair. As such,

Defendants’ reliance on SLUSA as a basis to dismiss Plaintiffs’ opt-out claims is misguided and

should be rejected.

IV.    THE PSA CLAIMS ASSERTED IN CLAL, MIGDAL INS., MIGDAL MUT.,
       MIVACHIM, PASGOT AND HAREL ARE TIMELY

       “Because failure to abide by the statute of limitations is an affirmative defense, dismissing

claims on statute of limitations grounds at the motion to dismiss stage is appropriate only if the

‘complaint clearly shows the claim is out of time.’” Biro v. Conde Nast, 963 F. Supp. 2d 255, 266

(S.D.N.Y. 2013) (quoting Harris v. City of New York, 186 F.3d 243, 250 (2d Cir. 1999)).

Defendants acknowledge that “the PSA is to be construed in the same manner as similar provisions

of federal securities law.” (MTD at 13 n.23 (citation omitted).) Under federal securities law, “[a]

securities-law violation is discovered when the plaintiff learns sufficient information about [the

violation] to . . . plead it in a complaint with enough detail and particularity to survive a [Federal

Rule of Civil Procedure] 12(b)(6) motion to dismiss . . . .” Fed. Hous. Fin. Agency v. Nomura

Holding Am., Inc., 873 F.3d 85, 119 (2d Cir. 2017) (citation omitted). This includes scienter.

Merck & Co. v. Reynolds, 559 U.S. 633, 648-49 (2010). “[I]t would be fundamentally unfair to

run the statute of limitations from a time prior to when ‘a complete and present cause of action’

can accrue.” In re Merrill Lynch Auction Rate Sec. Litig., 758 F. Supp. 2d 264, 275 (S.D.N.Y.

2010) (quoting Merck, 559 U.S. at 644).

       Defendants fail to carry their burden on their affirmative defense. They do not even attempt

to identify any allegation in Plaintiffs’ Complaints that demonstrate any Plaintiff had sufficient

facts to allege scienter more than a year prior to filing their complaint.

       Indeed, Defendants’ argument that sufficient public information existed as of August 2017

to allege a securities law violation is easily rejected because this Court held that the Ontario



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plaintiffs’ complaint filed on September 11, 2017 (ECF No. 141), which relied on the available

public information, failed to adequately allege a securities law violation. (ECF No. 215.) It was

only after the Ontario plaintiffs added additional non-public facts from former employees in their

amended complaint (ECF No. 226, ¶¶ 240-263) that this Court held that they adequately alleged

scienter. Ontario Teachers’ Pension Plan Bd. v. Teva Pharm. Indus. Ltd., 432 F. Supp. 3d 131,

170-71 (D. Conn. 2019). There is no basis to conclude that the plaintiffs here “should have

discovered” this non-public information more than a year before they filed their complaints.

        Ignoring scienter completely, Defendants misconstrue the Court’s finding that the Ontario

plaintiffs adequately alleged loss causation to argue that plaintiffs should have known of

Defendants’ fraud as a result of the disclosures. (MTD at 12-13.) This is wrong. The Court merely

held that the Ontario plaintiffs adequately alleged that the disclosures concerning the weakness in

Teva’s generic drug business were a “materialization of the risk” created by Defendants’

misrepresentations. Even if these disclosures revealed the falsity of certain of Defendants’

statements, it does not follow that they revealed sufficient information of scienter for the running

of the statute of limitations. See Lentell v. Merrill Lynch & Co., 396 F.3d 161, 170 (2d Cir. 2005)

(public disclosures of allegations of fraud insufficient for running of statute of limitations). Indeed,

this Court previously held that the publication of the Bloomberg article on November 3, 2016,

identifying Teva as being “investigated for possible criminal and civil penalties because of its

pricing and collusion,” was insufficient, even under a more defendant-friendly “inquiry notice”

standard to start the running of the statute of limitations. Ontario, 432 F. Supp. 3d at 180.




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                                     CONCLUSION

       For the foregoing reasons, Defendants’ motion to dismiss state and common law claims

should be denied in its entirety.

Dated: July 23, 2021                             Respectfully submitted,

                                                 By: /s/ Ari J. Hoffman__
                                                 David A. Ball (ct10154)
                                                 Ari J. Hoffman (ct22516)
                                                 COHEN and WOLF, P.C.
                                                 1115 Broad St. P.O. Box 1821
                                                 Bridgeport, CT 06604
                                                 Tel: (203) 368-0211
                                                 Fax: (203) 337-5534
                                                 dball@cohenandwolf.com
                                                 ahoffman@cohenandwolf.com

                                                 Lawrence M. Rolnick (pro hac vice)
                                                 Michael Hampson (pro hac vice)
                                                 Matthew Peller (pro hac vice)
                                                 Jennifer A. Randolph (pro hac vice)
                                                 ROLNICK KRAMER SADIGHI LLP
                                                 1251 Avenue of the Americas
                                                 New York, NY 10020
                                                 Tel: (212) 597-2800

                                                 Counsel for Plaintiffs Case Nos. 3:19-cv-
                                                 00603 (Highfields) and 3:20-cv-01635
                                                 (Brahman)




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By: /s/ Jeremy A. Lieberman                         By: /s/ Luke O. Brooks
Jeremy A. Lieberman (appearing pro hac              LUKE O. BROOKS (pro hac
vice)                                               vice)
Michael J. Wernke (appearing pro hac vice)          RYAN A. LLORENS (pro hac
POMERANTZ LLP                                       vice)
600 Third Avenue, 20th Floor                        ANGEL P. LAU (pro hac vice)
New York, New York 10016                            JEFFREY J. STEIN (pro hac vice)
Tel.: (212) 661-1100                                ERIKA OLIVER (pro hac vice)
Fax: (212) 661-8665                                 TING H. LIU (pro hac vice)
jalieberman@pomlaw.com                              ROBBINS GELLER RUDMAN
mjwernke@pomlaw.com                                 & DOWD LLP
                                                    655 West Broadway, Suite 1900
Patrick M. Dahlstrom (appearing pro hac             San Diego, CA 92101
vice)                                               Telephone: 619/231-1058
POMERANTZ LLP                                       619/231-7423 (fax)
10 South LaSalle, Ste 3505                          lukeb@rgrdlaw.com
Chicago, IL 60603                                   ryanl@rgrdlaw.com
Tel.: (312) 377-1181                                alau@rgrdlaw.com
Fax: (312) 229-8811                                 jstein@rgrdlaw.com
pdahlstrom@pomlaw.com                               eoliver@rgrdlaw.com
                                                    tliu@rgrdlaw.com
Erin Green Comite (ct24886)
Margaret B. Ferron (ct28469)                        CHAD JOHNSON (pro hac vice)
SCOTT & SCOTT                                       ROBBINS GELLER RUDMAN
ATTORNEYS AT LAW LLP                                & DOWD LLP
156 South Main Street                               125 Park Avenue, 25th Floor
P.O. Box 192                                        New York, NY 10017
Colchester, CT 06415                                Telephone: 212/791-0567
Tel.: (860) 537-5537                                chadj@rgrdlaw.com
Fax: (860) 537-4432
ecomite@scott-scott.com                             MOTLEY RICE LLC
mferron@scott-scott.com                             WILLIAM H. NARWOLD (ct
                                                    00133)
Counsel for Plaintiffs in                           Matthew P. Jasinski (ct 27520)
Case Nos. 19-cv-00513 (Mivtachim), 19-cv-           20 Church Street, 17th Floor
00543 (Clal), 19-cv-00655 (Migdal Ins.), 19-        Hartford, CT 06103
cv-00923 (Migdal Mut.), and 19-cv-01167             Telephone: 860/882-1676
(Psagot)                                            860/882-1682 (fax)
                                                    bnarwold@motleyrice.com
                                                    mjasinski@motleyrice.com

                                                Counsel for Plaintiffs in
                                                Case Nos. 19-cv-00449 (Phoenix) and
                                                19-cv-00656 (Harel)




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                                CERTIFICATION OF SERVICE

       I hereby certify that on July 23, 2021, a copy of the foregoing was filed electronically.

Notice of the foregoing filing and this Certification of Service will be sent by e-mail to all parties

by operation of the Court's electronic filing system and by mail to any parties who are unable to

accept electronic filing. Parties may access the foregoing filings and this Certification of Service

through the Court's system.



                                                       /s/ Ari J. Hoffman
                                                       Ari J. Hoffman, Esq.




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